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                                 FOR THE F OURTH C IRCUIT



                                           No. 22-7054


                               U NITED S TATES        OF   A MERICA ,
                                            Appellee,
                                                 v.

                                  Z ACKARY E LLIS S ANDERS ,
                                            Appellant.


                          Appeal from the United States District Court
                              for the Eastern District of Virginia
                                         at Alexandria
                          The Honorable T.S. Ellis III, District Judge


                               B RIEF   OF THE   U NITED S TATES


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                                            Introduction

              Following the jury’s conviction of defendant Zackary Sanders on twelve

        counts of producing, receiving, and possessing child sexual abuse material, the

        government sought forfeiture of nine electronic devices defendant used to commit

        his offenses. Defendant did not challenge the forfeiture of the devices themselves

        but argued that the district court should order the government to return certain

        categories of non-contraband electronic data stored on three of those devices.

              The district court rejected this argument, finding that two independent

        provisions of the child pornography forfeiture statute, 18 U.S.C. § 2253, required

        forfeiture of the devices in their entirety, including the electronic data stored on

        them. In addition, the court concluded that to the extent the equities of the situation

        were relevant, they strongly supported denying defendant’s request because of the

        significant burden on the government to review and disentangle forfeited files from

        non-forfeited files and to ensure the government returned only legal, non-

        objectionable material to defendant. The court also noted that the commingling of

        defendant’s personal data with his illegal conduct was a product of defendant’s

        own choices and thus weighed against his arguments.

              Those conclusions are sound. As every court to have reached the issue has

        held, § 2253 mandates the forfeiture of an electronic storage device in its entirety,

        including non-contraband data it contains. Electronic data is stored on devices as



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        through physical properties of the device itself; data present on a storage device is

        therefore not “separate property,” as defendant contends. Independently, electronic

        storage devices are “other matter” containing prohibited visual depictions, within

        the meaning of a separate provision, and the statute clearly contemplates the

        forfeiture of non-offending material also contained within such matters. Even were

        defendant correct as to mandatory forfeiture, however, the district court had

        equitable authority under Rule 41(g) to deny the return of non-contraband property

        validly seized on the devices.

              Lastly, defendant failed to raise any Eighth Amendment challenge below

        and concedes his claim is subject to plain-error review. He cannot meet his burden

        to prove any of those elements, however. The district court’s forfeiture order

        should be affirmed.

                                          Issues Presented

              1.     Did the district court err by concluding that 18 U.S.C. § 2253 requires

        forfeiture of the entirety of defendant’s electronic devices, including their

        contents?

              2.     Did the district court abuse its discretion in denying Sanders’s Rule

        41(g) motion for the return of non-contraband files stored on the forfeited devices?

              3.     Did the district court commit plain error by failing to conduct, sua

        sponte, an Eighth Amendment proportionality analysis of the forfeiture?



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                                      Statement of the Case

              In August 2019, the FBI received information that a specific IP address was

        used to access child sexual abuse and exploitation material on or about May 23,

        2019, on a hidden service on The Onion Router (Tor) network dedicated to such

        content. JA81, JA243. That IP address was registered through Cox

        Communications to Sanders’s mother at an address in McLean, Virginia. JA81,

        JA243. Sanders also resided at that address at the time. JA81, JA243.

              On February 12, 2020, the FBI executed a search warrant at Sanders’s

        residence and seized a number of electronic devices, including all of the devices

        the government now seeks to forfeit. JA81, 243. During the search, Sanders

        admitted to accessing and receiving child pornography through websites on the Tor

        network. JA81, JA243. Sanders also stated that he transferred child pornography

        material that he downloaded over the Internet from his laptop to external media

        storage devices. JA81, JA244.

              A forensic examination of the seized devices revealed that Sanders used the

        various devices seized from his home to communicate with minors and to produce

        and receive child pornography depicting these minors. JA81, JA244. Specifically,

        the examination revealed that between approximately 2017 and approximately

        2020, Sanders engaged in sexually explicit communications over the Internet,

        including the production and receipt of child pornography, with at least five minor



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        boys who were between the ages of 13 and 17 years old, and that he received child

        pornography depicting a sixth minor boy in the same timeframe. JA81-82, JA245.

        This included having victims record and send him videos of themselves engaged in

        sexualized conduct like slapping their testicles while nude. JA2, JA251. Sanders

        used electronic devices to communicate with the minors via Kik Messenger,

        Telegram, online forums, iMessage application, and the dating application Grindr.

        JA82, JA244-245, JA248. Furthermore, the forensic review of the electronic

        devices seized from Sanders’s residence revealed approximately hundreds of

        images and videos depicting child pornography/exploitation material. JA82,

        JA254-255.

              During trial, two witnesses testified establishing the nexus between the

        electronic devices and the alleged offenses. JA82. Special Agent Laura Calvillo

        testified that a number of electronic devices were found and seized from Sanders’s

        bedroom during the search of his home. JA82. Special Agent Christopher Ford

        testified that he imaged several and examined the contents of all of the relevant

        electronic devices found at Sanders’ residence and that each of the devices

        contained images and video of child pornography, including videos admitted into

        evidence. JA82. Special Agent Ford testified as to how Sanders used specific

        devices to chat online with minors, and how he used them to produce and receive

        child pornography material depicting different minors. JA82.



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                In October of 2021, a jury convicted Sanders of five counts of production of

        child pornography (18 U.S.C. § 2251(a), (e)), six counts of receipt of child

        pornography (18 U.S.C. § 2252(a)(2), (b)(1)), and one count of possession of child

        pornography (18 U.S.C. § 2252(a)(4)(B), (b)(2)).1 JA49, JA64-69, JA242. Before

        sentencing, Sanders filed a Rule 41(g) motion, and the government filed a motion

        for a preliminary order of forfeiture looking to forfeit nine electronic devices

        containing child pornography. JA57, JA70-98. The government’s motion included

        two declarations from FBI special agents. JA99-108. The first declaration,

        prepared by Special Agent Emily Eckert, stated that all nine electronic devices that

        the government sought to forfeit contained child pornography. JA99-103. The

        second declaration, prepared by Special Agent Andrew Kochy, discussed the

        substantial burden that would be placed on the government if it were required to

        separate the non-contraband files from the contraband files contained on the

        electronic devices and highlighted specific instances in this case in which the

        defense was unable to successfully disentangle Sanders’s child-pornography from

        his non-contraband material on his devices while reviewing this evidence at the

        FBI. JA104-108. The government argued that the forfeiture statute at issue, 18

        U.S.C. § 2253, required the forfeiture of the electronic devices in their entirety to


            1
            Defendant has separately appealed his convictions. See United States v.
        Sanders, No. 22-4242 (4th Cir., briefing concluded Aug. 22, 2022).


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        include all hardware, software, and data on the devices. JA80-98. Sanders argued

        that the non-contraband files on the electronic devices were not subject to

        forfeiture under the statute, and therefore should be returned. JA70-79.

              On April 29, 2022, the district court held a hearing to address the two

        motions. JA61, JA177. At the hearing, the district court confirmed that only three

        devices were at issue. JA182, JA184-187. In Sanders’s briefs and during oral

        argument, Sanders clarified that he only sought the return of non-contraband

        material on three electronic devices; specifically: (1) 1B2 a HP Elite Book laptop

        with cord; (2) 1B19 an Apple iPad Pro, S/N DMPVGGCPHDDV; and (3) 1B27 an

        apple iPhone S/N C39VJ0XDJCL6. JA122, JA124, JA137-138, JA179-180,

        JA182, JA187, JA195-196; SA3, SA9, SA10. He further stated that he was not

        challenging the forfeitability of the devices; rather, he argued the non-contraband

        files were not forfeitable and ought to be returned. JA70, JA72, JA114, JA119,

        JA121, JA136-137, JA179, JA185-187; SA4, SA10.

              On August 8, 2022, the district court issued an order granting the United

        States’ motion for a preliminary order of forfeiture and forfeited the nine devices in

        their entirety. JA62, JA221-234. The district court order also denied Sanders’s

        Rule 41(g) motion. JA62, JA221-234. In the order, the district court held that

        “[t]rial testimony and admitted evidence establishes that all of these [nine]

        electronic devices contained child pornography and were used by Defendant in the



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        commission of the offenses of conviction.” JA223. The district court noted that

        “[d]efendant does not contest that all nine electronic devices are subject to

        forfeiture.” JA223. Rather, the court stated, “the parties agree that the nine

        electronic devices are subject to mandatory forfeiture under § 2253, [but] the

        parties disagree about whether § 2253 applies to non-contraband files stored on

        those devices.” JA223.

              The district court concluded that the devices constituted both “other matter”

        containing prohibited visual depictions and property used to commit defendant’s

        offenses, mandating forfeiture under § 2253(a)(1) and (a)(3) respectively. JA228.

        In concluding that this forfeiture encompassed non-contraband data stored on the

        devices, the district court noted, “nowhere does the statute provide that only some

        portion of the property containing child pornography should be subject to

        forfeiture.” JA226. The district court also observed that even if it were to consider

        equitable considerations, those considerations ruled in favor of requiring the

        forfeiture of the devices in their entirety. JA232. First, the court found, the return

        of non-contraband files would impose an unwarranted and substantial burden on

        limited government resources. JA232. Second, the district court concluded that the

        burden was a result of Sanders’s own conduct, as it was Sanders who commingled

        his child pornography with non-child-pornography material. JA232.

              This appeal followed.



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                                      Summary of Argument

              The plain text of two independent provisions of § 2253(a) require forfeiture

        of defendant’s electronic devices, including the electronic data stored on them.

        First, § 2253(a)(3) requires forfeiture of property used to commit the offenses,

        which defendant did not dispute below. Defendant’s argument that the electronic

        data constitutes “separate property” is erroneous as a matter of the technological

        realities of data storage and relies on analogies used in inapposite areas of law.

        Second, § 2253(a)(1) requires forfeiture of “other matter” that contains prohibited

        visual depictions. The plain language, particularly considered in light of

        Congress’s explicit definition of “visual depictions” as including “data stored on a

        computer disk,” demonstrates that storage devices are the correct unit of forfeiture,

        not individual files.

              Moreover, even if forfeiture of the electronic data was not mandated by

        statute, the district court had equitable authority under Rule 41 to deny return

        based on the burden required to disentangle forfeited from non-covered data and

        defendant’s own actions in commingling illegal and legal material on the same

        device.

              Lastly, defendant’s forfeited claim of Eighth Amendment disproportionality

        fails. Defendant has identified no authority, much less binding authority, directly




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        on point, and he cannot show either plain error or an effect on his substantial

        rights.

                  Accordingly, the Court should affirm the district court’s forfeiture order.

                                                 Argument

        I.        The district court properly granted the government’s motion for a
                  preliminary order of forfeiture.

                  In criminal forfeiture proceedings, this Court “review[s] the district court’s

        findings of fact for clear error and the district court’s legal interpretations de

        novo.” United States v. Martin, 662 F.3d 301, 306 (4th Cir. 2011) (citing United

        States v. Morgan, 224 F.3d 339, 342 (4th Cir. 2000)).

                  Below, Sanders requested the return of certain categories of non-contraband

        data on three electronic devices, which he conceded were used by him in the

        commission of his offenses. The district court denied this request on the basis of

        well-reasoned statutory interpretation and sound factual findings. On appeal,

        Sanders argues that the district court erred in not ordering the return of all non-

        contraband devices on all nine devices forfeited. In addition to this expanded set of

        arguments being affirmatively waived below, his arguments, even as preserved, are

        meritless.




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              A.     The bulk of Sanders’ claims are waived or, at minimum,
                     forfeited and subject to plain error.

              In the district court, Sanders specifically informed the district court that he

        was not contesting the forfeitability of any of the electronic devices but rather only

        asking for the return of a small number of non-contraband files (not individually

        identified) on three specific devices: 1B2, 1B19, and 1B27. On appeal, however,

        Sanders both (a) seeks the return of all non-contraband files on all nine forfeited

        devices, including six he did not contest below: 1B1, 1B3, 1B5, 1B6, 1B22, and

        1B24; and (b) alludes to doubts about the forfeitability of one of those six devices,

        1B24. Because defendant affirmatively disclaimed these arguments below, he

        waived his claims of error and cannot present them on appeal.

              The difference between forfeiture and waiver is whether defendant failed to

        make a timely objection or whether he intentionally disclaimed or withdrew a

        known argument. See, e.g., United States v. Olano, 507 U.S. 725, 733 (1993). That

        distinction controls whether this Court may consider the issue at all under plain-

        error review or whether there is simply no “error” to correct. Ibid. “A waiver is the

        intentional relinquishment or abandonment of a known right.” United States v.

        Robinson, 744 F.3d 293, 298 (4th Cir. 2014) (internal quotations and citations

        omitted). “A party who identifies an issue, and then explicitly withdraws it, has

        waived the issue.” Id. at 298 (quoting United States v. Rodriguez, 311 F.3d 435,

        437 (1st Cir. 2002)); see also United States v. Ivey, — F.4th — , 2022 WL

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        1982384, at *11 (4th Cir. Feb. 14, 2023) (holding that withdrawal of an expert

        prior to district court ruling on admissibility constituted waiver). “[W]hen a claim

        is waived—as opposed to forfeited—it is not reviewable on appeal, even for plain

        error.” United States v. Morehouse, 34 F.4th 381, 395 (4th Cir. 2022).

              In his initial motion, defendant requested an order “directing the United

        States to preserve and return copies of the non-contraband content of Mr.

        Sanders[’] seized electronic devices” and objected to the preliminary order of

        forfeiture “of non-contraband, personal and business digital data stored on the

        electronic devices named in the Forfeiture Notice of the Indictment.” JA70. In its

        response, the government identified nine specific forfeitable devices and argued

        that the statute mandated forfeiture of the devices in their entirety, including files

        contained thereon. JA80, JA86-96. In doing so, the government noted that “given

        the number of devices and the amount of data on each electronic device, the

        undertaking of separating contraband and noncontraband data would be costly and

        difficult,” and even the protocol suggested by defendant would demand countless

        hours from law enforcement agencies to review the proposed returnable material.

        JA95-96.

              Multiple times after that—in his reply brief, in response to direct questioning

        by the district court at the hearing, and in a supplemental memorandum—

        defendant expressly disclaimed the argument that he was challenging the



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        forfeitability of the devices themselves or that he was seeking anything other than

        the return of a small number of files from only three specific devices: 1B2, 1B19,

        and 1B27:

                     Mr. Sanders is only asking for the return of certain types
                     of non-contraband files from three of those devices, an
                     iPhone, an iPad, and a laptop computer. … Mr. Sanders is
                     not requesting the return of any contraband images and is
                     not contesting forfeiture of the devices themselves (as
                     opposed to the non-contraband contents).

        SA4; see also SA9 (“What is left is only whether copying or transferring the limited

        universe of non-contraband files and data from the three devices … would be unduly

        burdensome”); JA122 (citing to “the total storage capacity of the three devices at

        issue”); JA136, JA141 (identifying only “personal/family photographs” and

        documents consisting of employment materials); JA179-180 (defense counsel

        identifying only 1B2, 1B19, and 1B27 at forfeiture hearing).

              Nowhere in his brief on appeal does Sanders acknowledge that he told the

        district court that he was only seeking the return of certain limited categories of

        non-contraband files on three devices. Yet based on defendant’s unequivocal

        response at the hearing, the district court clearly understood defendant to have

        limited his argument so:

                     The Court: All right. So, Ms. Ginsberg, am I correct, then,
                     that what we’re focused on sharply today is whether, for
                     1B2 and 1B19 and 1B27, where there appears to be
                     noncontraband material on there, whether the device
                     should be forfeited both with and without the contraband

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                     material, or, as you argue, that the noncontraband portions
                     of those memories should be returned to the defendant?

                     Ms. Ginsberg: Essentially, yes, Your Honor.

        JA187. The court then repeated this framing of the issue in its written order. See

        JA225 (noting that defendant was seeking “the return of certain allegedly non-

        contraband files—business records and family pictures—stored on the devices

        designated as 1B2, 1B19, and 1B27”). Defendant made an intentional, strategic

        choice to limit his arguments below to certain files on certain devices in order to

        increase their perceived persuasiveness to the district court. He cannot now rescind

        that choice on appeal. See Morehouse, 34 F.4th at 395 (“Having made a choice at

        sentencing, Morehouse cannot now contend that the district court erred by

        honoring that choice. He has waived the argument.” (quoting Robinson, 744 F.3d

        at 299)).

              Additionally, defendant incudes in his opening brief a passing reference to

        the forfeitability of one device—1B24, an Apple iPhone 4—albeit in footnotes. See

        Def. Br. 3 n.2; see also Def. Br. 15 n.6 (suggesting that defendant conceded

        forfeitability only as to “eight physical devices”). First, such a bare-bones

        reference does not meet the standards of Rule 28 and independently waives the

        argument in this Court. See, e.g., Foster v. Univ. of Md.- East. Shore, 787 F.3d

        243, 250 n.8 (4th Cir. 2015) (holding conclusory argument raised in footnote is

        waived on appeal); see also United States v. Al-Hamdi, 356 F.3d 564, 571 n.8 (4th

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        Cir. 2004) (“It is a well settled rule that contentions not raised in the argument

        section of the opening brief are abandoned.”).

              But second, even were the question properly raised, it contradicts

        defendant’s repeated affirmative statements in the district court that he was not, in

        fact, challenging the forfeitability of any of the nine devices “(as opposed to the

        non-contraband contents).” SA3, SA4-5. Moreover, as to 1B24 specifically,

        defense counsel explicitly conceded at the hearing that “if the agent has signed an

        affidavit or declaration saying it contains contraband, we have no evidence to the

        contrary” and that “[a]s long as there is evidence that there is actually contraband

        on that device, we can’t object to its forfeiture.” JA186-187; see also JA102-103

        (Eckert affidavit, describing contraband on 1B24). The district court accepted

        those concessions and stated the parties’ agreement on forfeitability in its order.

        JA225.

              Accordingly, the Court cannot consider defendant’s arguments on appeal

        outside the scope he himself expressly defined below: specific categories of files

        on three devices—1B2, 1B19, and 1B27. All other arguments are waived or, if the

        Court concludes they were not waived, at maximum reviewable for plain error.

              B.     The plain text of § 2253(a)(1) and (a)(3) requires the
                     forfeiture of electronic devices in their entirety.

              Sanders first argues that non-contraband electronic files are not forfeitable

        under 18 U.S.C. § 2253, as these files constitute separate property from the

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        contraband files and electronic devices and storage devices are not “other matter”

        covered by the statute.

              When it comes to statutory interpretation, courts begin with the text. See

        Taylor v. Grubbs, 930 F.3d 611, 616 (4th Cir. 2019). Of course, in determining the

        meaning of a statute, “words will be interpreted as taking their ordinary,

        contemporary, common meaning.” United States v. Serafini, 826 F.3d 146, 149

        (4th Cir. 2016) (quoting Perrin v. United States, 444 U.S. 37, 432 (1979)). “Where

        the text is unambiguous, [the] inquiry is complete.” Taylor, 930 F.3d at 616 (citing

        Nat’l Ass’n of Mfrs. v. Dep’t of Def., 138 S. Ct. 617, 631 (2018)).

              The criminal forfeiture statute here provides that defendants convicted of

        certain offenses, including those involved here, “shall forfeit to the United States

        such person’s interest in” three categories of property:

                     (1) any visual depiction described in section 2251, 2251A,
                     or 2252[,] 2252A, 2252B, or 2260 of this chapter, or any
                     book, magazine, periodical, film, videotape, or other
                     matter which contains any such visual depiction, which
                     was produced, transported, mailed, shipped or received in
                     violation of this chapter;

                     (2) any property real or personal, constituting or traceable
                     to gross profits or other proceeds obtained from such
                     offense; and




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                       (3) any property, real or personal, used or intended to be
                       used to commit or to promote the commission of such
                       offense or any property traceable to such property.

        18 U.S.C. § 2253(a). Forfeiture of covered property is mandatory. See United

        States v. Blackman, 746 F.3d 137, 143 (4th Cir. 2014) (explaining that 18 U.S.C.

        § 2461(c), which provides “that the district court shall order forfeiture” for

        applicable offenses, “mandates that forfeiture be imposed when the relevant

        prerequisites are met”). This Court has therefore recognized that “a sentencing

        court does not have discretion to ignore a statutory forfeiture provision.” United

        States v. Jalaram, Inc., 599 F.3d 347, 351 n.3 (4th Cir. 2010) (citing United States

        v. Monsanto, 491 U.S. 600, 607 (1989)). Indeed, a district court commits “error” if

        it “withhold[s] forfeiture on the basis of equitable considerations.” Blackman, 746

        F.3d at 143.

              Lastly, § 2253(b) explicitly states that “[s]ection 413 of the Controlled

        Substances Act (21 U.S.C. § 853) with the exceptions of subsections (a) and (d)[]

        applies to the criminal forfeiture of property pursuant to subsection (a).”

        Subsection 853(o), which is not excepted by § 2253(b), provides that “[t]he

        provisions of this section shall be liberally construed to effectuate its remedial

        purposes.” The Supreme Court has emphasized this language signals Congress’s

        express intent that the scope of forfeiture under the statute be broad and concluded

        that the rule of lenity did not apply. See Russello v. United States, 464 U.S. 16, 27



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        (1983) (considering 18 U.S.C. § 1983); United States v. Rivera, 884 F.2d 544, 546

        (11th Cir. 1989) (holding that the liberal construction directive in § 853(o)

        displaces the rule of lenity because of Congress’s explicitly stated intent).

              Here, the district court correctly recognized that this language covers the

        electronic devices defendant used to receive and store child sexual abuse material

        under either subsection (a)(1) or (a)(3). See JA226-228. First and most obviously,

        the district court made a factual finding, relying on “the trial evidence and the

        declarations of Special Agents Eckert and Kochy,” that all nine devices were “used

        by defendant in the commission of his child pornography offenses.” JA225.

        Because defendant used these devices to “access and store visual depictions of

        child pornography” and also used them “(i) to direct his minor victims to produce

        sexually explicit images of themselves and (ii) to receive those images from his

        victims,” the district court found that they constituted property, real or personal,

        used or intended to be used to commit … such offense” under § 2253(a)(3).

        JA227-228. Second, the district court concluded that because “each of the nine

        devices contain images of child pornography,” they constitute “other matter which

        contains any such visual depiction” under § 2253(a)(1). JA227.

              None of defendant’s challenges to these conclusions have merit.




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                     1.    Non-contraband files on a device used to commit child
                           exploitation are not “separate property.”

              The district court found, and defendant has shown no clear error, that the

        devices were property used in committing the offenses under § 2253(a)(3). See

        JA225-228. Thus, the devices must be forfeited. See, e.g., United States v. Evers,

        669 F.3d 645, 660 (6th Cir. 2012) (stating that where examination of computer

        hard drive revealed “the offending images,” the computer was subject to

        forfeiture). Instead of disputing this conclusion, defendant argues that non-

        contraband files on devices used to commit child exploitation offenses are

        “separate property” that cannot be forfeited. But this argument relies on faulty

        technical and legal premises.

              As a matter of practical fact, defendant’s assertion that the electronic data on

        the devices are somehow divisible “separate property” from the device itself is

        false. See, e.g., Josh Goldfoot, The Physical Computer & The Fourth Amendment,

        16 Berkeley J. Crim. L. 112, 155 (2011) (“Computer data does not have

        independent physical existence.”). The “technological reality” is that “[d]ata is

        stored by manipulating physical objects: regions on a hard drive platter are

        magnetized, photosensitive dye on a CD is darkened, and floating gates in flash

        memory have voltage applied to them.” Ibid. In other words, computers record and

        read data from their storage by physically manipulating the hard drive itself:

        positive and negative currents magnetize a hard drive platter in impulses called


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        “bits,” which then represent “the smallest storage unit in a computer.” Wayne

        Jekot, Computer Forensics, Search Strategies & the Particularity Requirement, 7

        U. Pitt. J. Tech. L. & Pol’y 2, art. 5, at 7 (2007). Computers then repeat this

        magnetization process to read stored data, which they manipulate and transmit as

        “serial bit streams,” relying on an operating-system-specific “file allocation table”

        (“FAT”) to organize data and on a graphic interface to display data to users. See id.

        at 8-9 (describing process). In other words, what we think of as virtual “data” is

        accomplished by physical changes to the actual device on which they are stored.

              Defendant appeals to a familiar “file cabinet” analogy in the Fourth

        Amendment context (see, e.g., Def. Br. 25-27), but courts have recognized that

        even the concept of easily segregable “files” on a storage device is a heuristic

        shortcut for users that does not reflect technological reality. As the en banc Second

        Circuit described, analyzing relevant literature, the “file cabinet analogy is only

        that—an analogy, and an imperfect one.” United States v. Ganias, 824 F.3d 199,

        212 (2d Cir. 2016) (en banc). Rather, “[e]ven the most conventional ‘files’—word

        documents and spreadsheets such as those the Government searched in this case—

        are not maintained like files in a file cabinet, in discrete physical locations separate

        and distinct from other files” but “are in fact ‘fragmented’ on a storage devices,

        potentially across physical locations” and include “unseen information,” such as

        “metadata” and “also prior version or edits that may still exist in the document or



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        associated temporary files.” Id. at 212-13 (citing numerous sources). Thus, while

        “[a] user may conceive of the information on her computer as being ‘files,’

        organized into ‘folders’ that are stored in various locations,” in reality, a single

        conceptual file of electronic data “may be composed of many types of data and

        files, and the physical locations of data on a computer hard drive and even the

        software’s organization of those data and files may be unrelated to the user’s

        perception of how their data is organized.” State v. Mansour, 421 P.3d 323, 197

        (Ore. 2018).2

                This Court has in fact analyzed the distinctions between data being

        physically stored on a device and the functionality of software. In America Online,

        Inc. v. St. Paul Mercury Ins. Co., 347 F.3d 89, 91-92 (4th Cir. 2003), this Court

        addressed whether software bugs that “altered the plaintiffs’ existing software,

        disrupted their network connections, caused the loss of stored data, and caused

        their operating systems to crash” constituted “physical damage to tangible

        property” under the software manufacturer’s insurance coverage. Recognizing the

        physical alterations to stored data on a hard drive, the Court concluded that “the



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             The Oregon Supreme Court in Mansour found that lawful seizure of a
        computer did not entitle the government to search the entirety of its contents but
        did on based on constitutional privacy interests and the particularity requirement
        for warrants (see 421 P.3d at 208-11), requirements that are not relevant to
        § 2253(a)(3)’s forfeiture of “property.”


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        physical magnetic material on the hard drive that retains data, information, and

        instructions is tangible property.” Id. at 94-95. The Court concluded, however, that

        where a software bug affected only the functionality of the software itself and did

        not “damage” the “circuits, switches, drives, and any other physical components of

        the computer,” it was “not physical damage to tangible property,” as covered by

        the policy. Id. at 96. Thus, while the Court concluded that “the data itself must be

        considered apart from the medium,” it did so in the context of determining “the

        question of whether the data, information, and instructions … are tangible

        property” and whether a loss of functionality in that data constituted “‘physical

        damage to tangible property’” under the insurance contract. Id. at 95-96 (emphases

        added).

              But critically, the Court agreed with the software company’s

        characterization of the physicality of stored data:

                     ‘The data consists of small electromagnets in certain
                     alignments. Once data is stored in a cell of a hard drive,
                     that cell is physically different from a cell without data,
                     and the physical differences between the two cells can be
                     detected through the use of certain tools. Data stored on a
                     hard drive is visible with the use of a microscope.’

                     …

                     Thus, employing these ordinary meanings, we conclude
                     that the physical magnetic material on the hard drive that
                     retains data, information, and instructions is tangible
                     property.



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        Id. at 94-95. The physical state of the hard drive, with portions that are magnetized

        or not to hold the data it contains, is thus a physical property of the device itself.

        Put differently, a storage device that contains Data A and Data B has different

        physical characteristics than an otherwise identical storage device that contains

        only Data A.

              When an electronic device is forfeited, therefore, it exists in a certain

        physical state that depends on, and is inextricable from, the contents of the

        electronic data stored on it. Changes to that data would necessarily change the

        physical properties of the device, by altering the magnetization on its storage

        device. Practically speaking, defendant’s request for the “return” of this electronic

        data is physically impossible without returning the device itself. Defendant’s

        request instead seeks to compel the government to create copies of the data and

        place them on a different storage device, in which case the government is not

        “returning” anything but is instead creating identical, new versions on new

        property. Then, by deleting the “returned” electronic data from the forfeited

        device, the government would be altering the physical state of the device itself.

              There is no legal basis to hold that the government is compelled to alter the

        physical state of forfeited property in order to take title, as it would necessarily

        need to do here if defendant’s argument succeeds. While defendant perhaps

        conceptualizes electronic data as papers laid upon and then removed from a table



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        without affecting the table underneath, the reality is that electronic data more

        resembles etchings on the table itself. Etchings may be sanded and repainted away,

        but there is no interpretation—plain-meaning, statutorily defined, or otherwise—of

        the word “property” in § 2253(a)(3) that would define the table and the etchings as

        separate property to be forfeited or not independently. If the table is subject to

        forfeiture while it has etchings upon it, the etchings come with the table. If the

        electronic device is forfeited, its hard drive magnetized in a certain way to store

        certain data necessarily comes with it, and nothing in § 2253(a)(3)’s text compels

        the government to alter the device’s physical state or permits forfeiture something

        less than or different from the device as it exists at the time of forfeiture.

              Accordingly, defendant’s appeal to 21 U.S.C. § 853(b)’s incorporation of

        “intangible personal property” in the definition of property is a red herring. See

        Def. Br. 23. No one disputes that a person’s electronic data can be property. The

        question is whether a specific copy of electronic data, present on a device through

        physical magnetization of that device’s hard drive, is somehow distinct property

        from that device, such that § 2253(a)(3)’s reference to “property” refers only to the

        latter and not the former. About this question, § 853(b) has nothing to say.

              To the contrary, § 2253(a)(3) takes a broad view of forfeitable property. It

        covers not just property “used or intended to be used to commit” the crime but also

        property “used or intended to be used … to promote” its commission. § 2253(a)(3).



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        This Court has concluded that this language covers property used as “facilitating

        property.” Jalaram, Inc., 599 F.3d at 351. Interpreting another statute covering

        facilitating property, this Court has concluded that the property need not be

        “integral, essential or indispensable” to the criminal conduct but “need only make

        the prohibited conduct less difficult or more or less free from obstruction or

        hindrance.” United States v. Schifferli, 895 F.3d 987, 990 (4th Cir. 1990). The

        types of property held to be forfeited under this provision are quite varied. See,

        e.g., Matter of Search of One Address in Washington, D.C., Under Rule 41, 512 F.

        Supp. 3d 23, 28-29 (D.D.C. 2021) (citing examples). Defendant’s assertion that

        district courts must engage in a file-by-file parsing before ordering forfeiture is

        inconsistent with both technological realities defining the nature of the property

        and contrary to the plain meaning of § 2253(a)(3)’s broad language, reinforced by

        the liberal construction required by § 853(o) and § 2253(b).3




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              It is also not so clear-cut as defendant would make it seem. As the district
        court held below, “the trial evidence in this case demonstrated that the Defendant
        offered employment in his businesses to several of the minor victims.” JA232. Not
        only may there be other statutory restrictions on what data could be returned to
        defendant (e.g., 18 U.S.C. §§ 3509, 3771), but computer data that is not prohibited
        visual depictions that nonetheless facilitated the criminal activity, such as the data
        related to the conduct described by the district court, would still be forfeited under
        § 2253(a)(3). See also United States v. Wernick, 673 F. App’x 21, 25 (2d Cir.
        2016) (noting that it was “impossible confidently to conclude” that remaining non-
        contraband data was not “used to facilitate the offenses of conviction”).


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              Defendant cites no case—and the government has found none—holding that

        an electronic file is distinct property from the device on which it is stored and must

        be excluded from forfeiture, under § 2253(a) or any other federal forfeiture statute.

        To the contrary, courts addressing the issue have adopted the government’s view,

        including this Court in an unpublished opinion.

              In United States v. Hoffman, No. 2:12-cr-184, 2018 WL 5973763 (E.D. Va.

        Nov. 14, 2018), the district court denied defendant’s motion for return of electronic

        data contained on forfeited devices under Rule 41. There, after defendant was

        convicted of attempted espionage under 18 U.S.C. § 794, the court entered a

        consent forfeiture order “listing numerous electronic items to be forfeited pursuant

        to 18 U.S.C. § 794(d).” Id. at *1. Defendant later moved for the return of “all

        electronic media (i.e., family and professional photos, videos, and documents) in

        their original file format, from the devices forfeited … because such items were

        never forfeited [and] have never been considered contraband.” Ibid. He argued that

        “electronic media is a wholly distinct and separate piece of property from the

        storage medium” and that the forfeiture order specified only “physical devices or

        media related to defendant’s conviction” and therefore did not cover “electronic

        family media.” Id. at *3. Rejecting this argument, the district court concluded that

        “Petitioner’s electronic devices as a whole, including all of their files and

        programs, were subject to the Consent Order” and concluded that “there is not



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        language in 18 U.S.C. § 794(d) … indicating that only a portion of the forfeited

        property can be forfeited.” Ibid. On appeal, this Court “affirm[ed] for the reasons

        stated by the district court.” United States v. Hoffman, 764 F. App’x 399, 399 (4th

        Cir. 2019).

              Although addressing the forfeiture provisions of § 794(d), the district court

        in Hoffman relied on the Third Circuit’s interpretation of § 2253(a)(3) itself in

        United States v. Noyes, 557 F. App’x 125 (3d Cir. 2014). Defendant’s statement

        that Noyes was “largely decided on procedural grounds” (Def. Br. 29) is incorrect.

        The Third Circuit unequivocally held that § 2253(a)(3) applied to “the computers

        as a whole, including all of their files and programs” because “[t]here is nothing in

        the statute which indicates that only a portion of the property can be forfeited.” Id.

        at 127; see also State v. Kremer, 907 N.W.2d 403 (N.D. 2018) (relying on Noyes to

        hold that state forfeiture statute with similar wording required forfeiture of non-

        contraband files also). In doing so, Noyes cited United States v. Hull, 606 F.3d 524

        (8th Cir. 2010). In that case, the Eighth Circuit determined that the defendant had

        “set up a computer in his home, connected to the Internet, and distributed child

        pornography from there” and that the use of the real property had “a substantial

        role,” qualifying as property covered by § 2253(a)(3). Id. at 527-28. Accordingly,

        the court affirmed not only forfeiture of the computer used, but the house in which

        it was used, and the rest of the acreage acquired under the same deed. Id.



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              This Court took a similar approach in United States v. Santoro, 866 F.2d

        1538 (4th Cir. 1989). There, defendant argued that because they only sold cocaine

        on a five-acre portion of land separated from the nineteen-acre other portion, only

        the five-acre portion should be forfeited. Id. at 1543. But despite the two portions

        being taxed as separate parcels, the deed recorded them as one tract, and the Court

        ordered forfeiture of both portion, because “[t]he claimants’ subjective

        characterization of the property as two tracts” did not create distinct properties.

        Ibid. Similarly, here, the subjective user experience of files as discrete items cannot

        overturn the physical and legal reality that electronic data is stored on a device as a

        physical characteristics of that device.

              In United States v. Wernick, 148 F. Supp. 3d 271 (E.D.N.Y. 2015), the

        district court confronted a defendant’s argument that his non-contraband files on

        forfeited devices were not covered by § 2253(a). It rejected this claim, concluding

        that terminating defendant’s interest in the devices, “of semantic necessity,

        includes their contents in toto and related mirror-images.” Id. at 274-76. It also

        rejected defendant’s assertion, as is made here, that electronic data “‘is readily

        movable and severable from any device in which it may reside,’” noting that the

        non-contraband data “is intertwined with its contraband counterparts as previously

        explained.” Id. at 275. Again, defendant’s suggestion that these courts failed to

        reach the merits is unavailing. Cf. Def. Br. 29. The Second Circuit affirmed on the



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        grounds that the district court had discretion to deny return under Rule 41

        considering the commingling of data and the significant resources required to

        segregate returnable data from data “used to facilitate the offenses of conviction.”

        United States v. Wernick, 673 F. App’x 21, 25 (2d Cir. 2016). It declined to reach

        the question whether a defendant ever had an entitlement to the return of electronic

        data “unconnected to criminal activity” on a forfeited device. Id.

              None of defendant’s cited cases are apposite. In United States v. Smith, 966

        F.2d 1045 (6th Cir. 1992), for example, the court turned to land recording

        instruments to answer the specific question of determining a single unit of real

        property under the criminal drug forfeiture statute, which the statute itself

        recognizes as a different species of property from “tangible and intangible personal

        property.” See 21 U.S.C. § 853(b)(1)–(2). In doing so, Smith determined that it

        would analogize to the civil drug forfeiture statute’s discussion of real property,

        and so relied on this Court’s decisions in Santoro, discussed above, and United

        States v. Reynolds, 856 F.2d 675, 677 (4th Cir. 1988), both of which interpreted

        that statute’s forfeiture of “the whole of any lot or tract of land” used. See Santoro,

        866 F.2d at 1543 (quoting 21 U.S.C. 881(a)(7)); Reynolds, 856 F.2d at 1053

        (same).

              Thus, while Smith reasonably looked to the civil forfeiture statute’s scope

        for real property in interpreting § 853(a) and (b)(1)’s application to real property, it



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        has nothing to say about whether electronic data is separate property from the

        devices on which the data is physically stored. To the contrary, Smith and Santoro

        both affirm the principle that an owner’s “subjective characterization of the

        property … cannot serve as the legal basis for determining property.” Smith, 966

        F.2d at 1053 (quoting Santoro, 866 F.2d at 1543). As discussed above, a user or

        owner’s perception of his electronic data as separate from the media device on

        which it is stored is an illusory construct of software design; the actual physical

        realities demonstrate that electronic data is integrated into the device through

        manipulation of and changes to the object’s physical characteristics.

              Similarly, United States v. One 1998 Tractor, 288 F. Supp 2d 710 (W.D. Va.

        2003), fares no better. In it, the district court interpreted not the word “property”

        but the word “vehicle,” found in 49 U.S.C. § 80303, and relied on both Santoro

        and a First Circuit’s decision that a tug and its barge were distinct “vessels” under

        the statute. Id. at 712 (citing The Dolphin, 3 F.2d 1 (1st Cir. 1925)). On appeal,

        defendant raised only an Eighth Amendment claim, and this Court did not address

        the scope of the statute. See United States v. Shimshiryan, 114 F. App’x 863 (4th

        Cir. 2004). Whatever Tractor and Shimshiryan’s relevance, this Court’s decision in

        Hoffman affirming the district court on the merits of this precise issue is more

        directly on point. See 764 F. App’x at 399.




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              Returning to defendant’s other case law, each case relies on concepts or

        rules that are simply not present in § 2253(a)’s definitions of property or relevant

        to its consideration. For example, In re Grand Jury Subpoena, 846 F. Supp. 11, 12

        (S.D.N.Y. 1994), turned on Rule 17(c)’s requirement that the subpoena have a

        “reasonable probability” to “produce information relevant to the general subject of

        the grand jury’s investigation.” See also id. at 12-13 (citing In re Horowitz, 482

        F.2d 72 (2d Cir. 1973)). Such a determination of relevancy and the reasonableness

        of a subpoena’s scope again have nothing to do with whether either the legal

        question of the scope of “property” under § 2253(a)(3) or the technological

        realities demonstrating that electronic data is physically integrated into the storage

        device it occupies.

              Likewise, whether a particular instance of consent waives Fourth

        Amendment privacy interests is a fundamentally different question from whether

        electronic data is the same “property” as the storage media. E.g., Trulock v. Freeh,

        275 F.3d 391, 403 (4th Cir. 2001) (noting that “[a]uthority to consent originates

        not from a mere property interest but instead from mutual use of the property by

        persons generally having joint access or control for most purposes” such that

        “others have assumed the risk that one of their number might permit the common

        area to be searched”); United States v. David, 756 F. Supp. 1385, 1390 (D. Nev.

        1991) (holding that an electronic device “is entitled to the same Fourth



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        Amendment protections” and analyzing whether defendant consented to search).

        To analogize, a landlord’s inability to consent to a police search of his renter’s

        room for Fourth Amendment purposes (e.g., United States v. Stevenson, 396 F.3d

        538, 546 (4th Cir. 2005)) would not render the room “separate property” from the

        house in the context of a forfeiture.

              Defendant’s other Fourth Amendment cases likewise turn on issues specific

        to Fourth Amendment principles that are not present in the forfeiture statute or the

        concept of “property” in § 2253(a)(3). See, e.g., United States v. Comprehensive

        Drug Testing, Inc., 579 F.3d 989 (9th Cir. 2009) (en banc) (applying United States

        v. Tamura, 964 F.2d 591 (9th Cir. 1982), which laid out procedures for ensuring

        large-scale seizure of electronic data complied with warrant’s particularity

        requirement); United States v. Metter, 860 F. Supp 2d 205, 212-13 (E.D.N.Y.

        2012) (holding that Fourth Amendment’s requirement that execution of warrant be

        reasonable limited government’s ability to retain seized electronic data

        indefinitely); United States v. Debbi, 244 F. Supp. 2d 235, 237-38 (S.D.N.Y 2003)

        (holding simply that the government may not ignore the plain language of the

        warrant authorizing what may be seized). Cases applying a particularity or

        reasonable execution standard—such authorizing seizure of some but not all

        electronic data on a particular storage device—do not necessarily imply that the

        device may be considered “separate property” from its data. The Supreme Court



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        has said that “probable cause to believe that a stolen lawnmower may be found in a

        garage will not support a warrant to search an upstairs bedroom.” Maryland v.

        Garrison, 480 U.S. 79, 84-85 (1987) (quoting United States v. Ross, 456 U.S. 798,

        824 (1982)). But that particularization would not render the garage separate

        property for purposes of a real-property forfeiture under § 2253(a)(3) or Santoro.

              Nor is defendant’s use of Fourth Amendment concepts even consistent with

        the way federal courts read warrants authorizing the seizure of electronic storage

        devices. Both the Fourth Amendment and Rule 41 require that a warrant

        “particularly describe[e] the place to be searched, and the persons or things to be

        seized” (U.S. Const., amend. IV) and “identify the person or property to be

        searched” or “any person or property to be seized” (Fed. R. Crim. P. 41(e)(2)(A)).

        Yet courts regularly hold that a warrant authorizing seizure of an electronic storage

        device authorizes a search of its stored electronic data as well, treating it—in

        essence—as one unitary thing. See, e.g., United States v. Fifer, 863 F.3d 759, 766

        (7th Cir. 2017) (rejecting argument that a warrant authorizing seizure of electronic

        devices did not authorize law enforcement to search the electronic data stored on

        them); United States v. Schesso, 730 F,3d 1040, 1043, 1046 (9th Cir. 2013)

        (holding that warrant authorizing seizure of “any computer or electronic equipment

        or digital data storage devices” as authorizing subsequent search of electronic data

        stored on those devices). In fact, as Fifer and Schesso point out, Rule 41 expressly



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        provides that a warrant “authorizing seizure of electronic storage media …

        authorizes a later review of the media … consistent with the warrant.” Fed. R.

        Crim. P. 41(e)(2)(B); see also Fed. R. Crim. P. 41(f)(1)(B) (providing that when

        making an inventory list “involving the seizure of electronic storage media or the

        seizure or copying of electronic stored information,” the inventory may be limited

        to describing the physical storage media that were seized or copied”). Defendant’s

        suggestion that electronic data is fundamentally independent of, and severable

        from, the device on which it is stored is simply not borne out by technology,

        ordinary practice, or legal authority.

              This Court held in United States v. Williams, 592 F.3d 511, 521-22 (4th Cir.

        2010), that a warrant “authorizing a search of Williams’ computers and digital

        media … impliedly authorized officers to open each file on the computer and view

        its contents.” This conclusion supports the idea that even under Fourth Amendment

        standards, electronic data contained on a seized device is not its own “separate

        property” for purposes of warrant execution. See id. at 521. But at its core, the

        holdings of Williams are grounded in the reasonableness of an authorizing warrant,

        the adequacy of its particularity, and the application of the plain-view doctrine in

        executing that warrant. See, e.g., id. at 519-20. The two inquiries are just apples

        and oranges, and analyses generated under a constitutional standard of

        “reasonableness” have very little to do with the physical and practical realities of



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        computer storage devices as items of property. This Court should resist defendant’s

        invitation to import conceptually distinct principles, and technologically inaccurate

        analogies, into an analysis that is entirely unrelated.

              In sum, as a technological matter, these devices hold the forfeited files as

        magnetized portions of their hard drives; they are thus present as physical

        characteristics of the device. Courts interpreting this and other analogous forfeiture

        statutes have uniformly concluded that the forfeiture should encompass both the

        device and the electronic data on it. Defendant’s arguments to the contrary rely on

        inaccurate analogies to inapposite doctrines and should be rejected.

                     2.     Alternately, the devices and their contents are “other
                            matter” containing contraband under § 2253(a)(1).

              Independently, § 2253 provides for the forfeiture of “any visual depiction

        described in [covered offenses], or any book, magazine, periodical, film,

        videotape, or other matter which contains any such visual depiction.” § 2253(a)(1).

        Again, it is beyond dispute that the district court had an adequate factual basis for

        concluding that these storage devices all “contain visual depictions of child

        pornography.” JA225 (citing trial evidence and agent declarations). Defendant

        concedes that “matter” has a broad plain meaning and provides no definition—

        dictionary, common law, or statutory—that would limit its meaning in some way




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        as to exclude electronic storage devices. See Def. Br. 13.4 Congress has explicitly

        instructed that these forfeiture statutes be liberally construed. See § 2253(b)

        (incorporating, inter alia, § 853(o)). Accordingly, the district court correctly

        concluded that the forfeited electronic devices constituted such “other matter” and

        that this provision “makes no exception for non-contraband material contained” on

        them. JA227.

                In response to this straightforward application, defendant appeals to Yates v.

        United States, 574 U.S. 528 (2015) (plurality opinion), and 18 U.S.C. § 2252(a) to

        argue that this Court should give the words “other matter” a narrower construction

        than their plain meaning suggest. But both these sources support the government’s

        argument. In Yates, the plurality held that despite being an object and tangible, a

        fish did not fall within the statutory phrase “any record, document or tangible

        object” in a statutory section titled “Destruction, alteration, or falsification of

        records in Federal investigations and bankruptcy” contained within a chapter

        covering “obstructive acts in specific contexts.” 574 U.S. at 539-41. Thus, both

        “the specific context in which that language is used, and the broader context of the

        statute as a whole,” indicated a more limited application. See id. at 537. Justice


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              Indeed, “nonmailable matter” under 39 U.S.C. § 3001 includes, in addition to
        printed material, such wide-ranging items as firearms, poisonous animals,
        explosives, disease germs, improperly labeled food or cosmetics, and fuel. See
        § 3001(a), (f), (g) (citing 18 U.S.C. §§ 1715, 1716, and 15 U.S.C. § 1471).


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        Alito concurred in judgment, concluding that the verbs used in the statute and the

        section title heavily implied their application solely to “filekeeping, not fish.” Id. at

        551-52 (Alito, J., concurring in the judgment).

              But unlike in Yates, the difference between electronic storage media and the

        other described materials is not the difference between a fish and a file. Defendant

        argues that electronic devices do not share features common to the other items.

        Def. Br. 13-14. First, defendant’s list selectively omits features that these items do

        have in common with electronic devices. Like a “book, magazine, periodical, film,

        [or] videotape,” an electronic device is a medium of information (not a marine

        animal), including particularly of visual depictions—the specific context of § 2253

        and its referenced offenses. See, e.g., United States v. Lacy, 119 F.3d 742, 748 (9th

        Cir. 1997)(“Here, the word ‘matter’ appears at the end of the list ‘books,

        magazines, periodicals, films, and videotapes,’ all of which are physical media

        capable of containing images.”). Second, contrary to defendant’s argument (Def.

        Br. 14), an electronic device can be separately viewed, copied, and transmitted; all

        of defendant’s forfeited devices are notable for their portability, all could be copied

        onto other electronic storage media (as defendant wants to make the government

        do to “return” the data), and all could be transmitted, for example electronically

        through an online file-sharing service or physically through the mails. JA222

        (describing thumb drives, laptops, iPads, and iPhones).



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              Nor is a videotape a medium “from which content cannot be removed

        without destroying their original form” (Def. Br. 14): videotapes, like CDs, DVDs,

        portable hard drives, and other reusable media, can be taped over with new content

        that erases the old. This feature was even widely used when Congress enacted

        § 2253(a)(1). See Pub. L. 100-690, sec. 7522(c), 102 Stat. 4181, 4494 (Nov. 18,

        1988) (enacting subsection (a)(1), referencing forfeiture of videotapes); cf. Sony

        Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 422-23 (1984)

        (discussing Betamax tape recorders and observing that “[t]apes may be reused, and

        programs that have been recorded may be erased either before or after viewing”).

        While a “film” may connote a single piece of continuous artistic expression, a

        videotape can contain several, entirely unrelated such films. Yet the presence of a

        film containing a prohibited visual depiction forfeits the tape as a whole.

        Defendant’s argument would, in this context, require the government to copy the

        remaining non-offending movies onto a new tape and give them back to him.

        Nothing in § 2253(a)(1) supports such measures.

              Defendant cites to Congress’s amendment to § 2252(a)(4) in the Child

        Pornography Prevention Act of 1996 (CPPA) to argue that Congress understood

        “other matter” to exclude electronic storage devices. See Def. Br. 17. But




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        defendant is looking at the wrong part of the Act.5 In the same legislation,

        Congress amended the definition of “visual depiction” in § 2256 (which defines

        terms for the entire chapter) to include “data stored on computer disk or by

        electronic means which is capable of conversation into a visual image.” Pub. L.

        104-208, sec. 121(2), 110 Stat. 3009, 3009-027 (Sept. 30, 1996) (amending 18

        U.S.C. § 2256(5)) (emphasis added). Reading “visual depiction” in § 2253(a)(1)

        with this definition in mind makes the district court’s conclusion unassailable: a

        defendant forfeits “any data stored on computer disk described in [the covered

        offenses], or any book, magazine, periodical, film, videotape, or other matter

        which contains any such data.” A “matter” that contains “data stored on a

        computer disk” is the disk itself.

                Defendant cites to United States v. Vig, 167 F.3d 443 (8th Cir. 1999), but

        again, that case helps the government. The Eighth Circuit endorsed the broad

        sweep of “other matter,” holding that “[t]he language indicates that ‘other matter’

        is simply something which, at a minimum, must be capable of containing a visual


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              When Congress amended then-§ 2252A to contain the “including by
        computer” language, it did so throughout the rest of the section to broaden the
        covered means of transportation as the jurisdictional element. See Pub. L. 104-208,
        sec. 121(3), 110 Stat. at 3009-028 to 3009-029. Cf. § 2252(a). Thus, it is likely that
        “including by computer” in § 2252(a)(4)(B) was modifying the jurisdictional
        element, not the description of “other matter,” such that the depiction must have
        been transported in interstate commerce, or made using materials so transported,
        “by any means including by computer.”


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        depiction,” which a computer image file does. Id. at 447. It then cited the Seventh

        Circuit, which had held that “[a]lthough the statute does not define ‘other matter,’

        plain meaning suggests a prohibition of three or more of anything containing a

        visual depiction transported in interstate commerce.” Ibid. (quoting United States

        v. Hall, 142 F.3d 988, 999 (7th Cir. 1998)). And it recognized the Ninth Circuit’s

        concession in United States v. Lacy, 119 F.3d 742, 748 (9th Cir. 1997), that “both

        disks and image files could be viewed as containing visual depictions.” Vig, 167

        F.3d at 447-48. Nothing about Vig concludes that only one of the two—a single

        image file or a hard drive—can be a “matter” that contains an offending visual

        depiction.6 To the contrary, the broad definition endorsed by Vig and Hall suggest

        that both can and are but that the statutory purposes of § 2252 require treating each

        image as a separate unit of prosecution to avoid absurd results. See Vig, 167 F.3d at

        448. That both-and construction is particularly appropriate in the forfeiture statute,

        where Congress has mandated liberal construction of its provisions. See § 2253(b)

        (incorporating § 853(o)).




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             Similarly, the Ninth Circuit in United States v. Fellows, 157 F.3d 1197, 1201
        (9th Cir. 1998), held that a graphics file qualified as an “item” containing a visual
        depiction under the Guidelines and rejected defendant’s argument that only the
        hard drive could be an item; it did not say that a hard drive could not be an item,
        merely that a graphics file was.


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                Defendant wants to introduce a parsimony requirement into the statute:

        “other matter” must mean only the smallest unit capable of containing a visual

        depiction, such as a file. But this principle appears nowhere in the text and, indeed,

        is contrary to both the explicit directive of liberal construction in § 2253(b) and

        § 853(o) and the surrounding context.7 As discussed above, a “film” and a

        “videotape” are separately listed items in § 2253(a)(1), but a videotape may easily

        contain several films. Indeed, the clear import of § 2253(a)(1) is that the defendant

        forfeits not only the visual depiction itself but also the medium that contains it.

        When a book, magazine, periodical, or videotape containing one prohibited visual

        depiction is forfeited, non-contraband material it also contains—perhaps entirely

        unrelated—comes with it. So too with an electronic device: it and its contents—

        contraband or not—are forfeited as a whole.

                Defendant’s policy arguments about the scope of potentially non-contraband

        material forfeited are simply not relevant to construction of the forfeiture statute.

        See, e.g., Blackman, 746 F.3d at 143 (holding that a district court commits “error”


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              As discussed above, the Supreme Court has recognized that Congress’s
        express directive to use liberal construction of a forfeiture statute eliminates the
        need to apply the rule of lenity, which occurs only after all statutory construction
        tools have been exhausted. See Russello, 464 U.S. at 29 (noting the rule of lenity
        operates “at the end of the process of construing what Congress has expressed, not
        at the beginning as an overriding consideration of being lenient to wrong-doers”).
        Accordingly, defendant’s final appeal to the rule of lenity is unavailing in light of
        the statute’s plain meaning and liberal construction. Cf. Def. Br. 21-22.


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        if it “withhold[s] forfeiture on the basis of equitable considerations”). The statute

        does not qualify its mandatory language with a balancing test considering the

        volume of non-contraband versus contraband material on the medium. A thousand-

        page book or a six-hour cinematic masterpiece each containing only one prohibited

        visual depiction must both be forfeited in their entirety; the statute does not compel

        the government to selectively tear the offending page from the book or cut the

        offending scene from the film or videotape, however much non-offending content

        exists alongside it. Yet here, the practical effect of defendant’s argument is to

        compel the government to engage in exactly this kind of selectively, creating and

        placing new copies of non-contraband material on new devices and passing them

        back to him. Section 2253(a)(1) unequivocally rejects that model of forfeiture, and

        the district court did not err in so holding.

                                                  ***

              In sum, forfeiture is mandatory under both § 2253(a)(1) and (a)(3), either of

        which provides an independent basis to affirm the district court’s order. The plain

        language of both provisions, understood in their legislative history and the

        practical realities of electronic data storage, compel the conclusion that electronic

        devices on which child sexual abuse material is stored are forfeited in their

        entirety, including any non-contraband data stored concomitantly with that illegal

        material.



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        II.       Alternatively, the district court had ample discretion under Rule 41(g)
                  to deny the return of non-contraband material held on forfeited devices.

                  Although it appears not to have published an opinion so stating, this Court’s

        unpublished opinions consistently apply abuse-of-discretion review to Rule 41(g)

        denials. See, e.g., United States v. Roca, 676 F. App’x 194 (4th Cir. 2017) (citing

        United States v. Chambers, 192 F.3d 374, 376 (3d Cir. 1999)); see also United

        States v. Soza, 599 F. App’x 69, 70 (4th Cir. 2015) (same); United States v.

        Mitchell, 324 F. App’x 264, 265 (4th Cir. 2009).

                  Similarly, while this Court has not addressed the issue in a published

        opinion, other courts of appeals recognize that a motion for the return of property

        under Rule 41(g) seeks equitable relief from the district court and therefore is not

        appropriate where an adequate remedy at law exists. See, e.g., United States v.

        Zaleski, 686 F.3d 90, 92 (2d Cir. 2012) (citing De Almedia v. United States, 459

        F.3d 377, 382 (2d Cir. 2006)); Brown v. United States, 692 F.3d 550, 552-53 (6th

        Cir. 2012); United States v. Howell, 425 F.3d 971, 974 (11th Cir. 2005).8 This

        Court has adopted the same view in a pre-2007 unpublished opinion. See Babb v.

        U.S. Drug Enf. Agency, 146 F. App’x 614, 619 (4th Cir. 2005) (holding that “a

        party who claims that the government must return seized property still must


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             Courts have thus held that a defendant cannot use a Rule 41(g) motion to
        challenge forfeiture of property. See United States v. Bernard, 537 F. App’x 72, 74
        (3d Cir. 2013); Young v. United States, 489 F.3d 313, 315 (7th Cir. 2007).


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        demonstrate lawful entitlement to the property and an equitable right to its return”).

        Without explicitly citing Rule 41 itself, the Supreme Court has stated that “[a]

        federal court has equitable authority, even after a criminal proceeding has ended, to

        order a law enforcement agency to turn over property it has obtained during the

        case to the rightful owner or his designee.” Henderson v. United States, 575 U.S.

        622, 625-26 (2015).

              Because of its equitable nature, therefore, courts have also held that there are

        other reasons, beyond forfeiture, that justify Rule 41(g) denials. In Rudisill, 358 F.

        App’x 421, 422 (4th Cir. 2009), for example, this Court cited the Ninth Circuit’s

        opinion holding that courts may deny return if “the government’s need for the

        property as evidence continues.” 358 F. App’x at 422 (quoting United States v.

        Van Cauwenberghe, 934 F.2d 1048, 1060-61 (9th Cir. 1991)). Likewise, in

        Wernick, the Second Circuit considered the burden placed on the government to

        separate the non-contraband and contraband files from the defendant’s electronic

        devices in affirming the district court’s denial of Wernick’s Rule 41(g) motion. See

        673 F. App’x at 25. In United States v. Davis, 736 F. App’x 783 (11th Cir. 2020),

        the Eleventh Circuit addressed a defendant’s Rule 41(g) motion for non-forfeited

        items, a laptop and the electronic data stored on an external hard drive. The court

        denied return on equitable grounds, concluding that the laptop and data contained




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        “records and communications” related to defendant’s fraudulent capital

        management company. See id. at 788.

              Here, the district court ruled in the alternative that the equities favored

        denying defendant’s request for return of non-contraband data on his electronic

        devices. See JA231-233. First, the court found that defendant’s request “would

        impose an unwarranted and substantial burden on government resources,”

        including the time and expense of reviewing every file to determine whether it

        constitutes forfeited or non-forfeited material. JA232 & n.6. Second, the district

        court concluded that “any burden to the Defendant in this case is a result of the

        defendant’s own wrongdoing,” as defendant “is the one who decided to commingle

        family photographs and business records with images of child pornography.”

        JA233. Other courts have similarly applied this “clean hands” principle to deny

        equitable relief in these circumstances. See, e.g., United States v. Kaczynski, 551

        F.3d 1120, 1129-1130 (9th Cir. 2009); Howell, 425 F.3d at 974.

              The district court’s conclusions are well founded. Sanders used these nine

        devices to produce and receive child pornography with at least five minor boys

        who were between the ages of 13 and 17 years old, and he received child

        pornography depicting a sixth minor boy in the same timeframe. Furthermore,

        Sanders placed the child pornography on these nine devices, making the




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        entanglement between his contraband and non-contraband data his own choice.9

        The district court was rightfully skeptical of a rule obligating the government to

        expend considerable resources, both in time and money, to disentangle Sanders’s

        data, when Sanders chose to create the entanglement himself in the first place. Cf.

        Keystone Driller Co. v. Gen. Excavator Co., 290 U.S. 240, 245 (1933) (holding

        that unclean hands doctrine applies where “violations of conscience as in some

        measure affect the equitable relations between the parties”).

                Lastly, the government notes that defendant’s direct appeal of his conviction

        and sentence remains pending before this Court. See United States v. Sanders, No.

        22-4242 (4th Cir.). In the event that the defendant’s convictions are reversed and

        remanded for a new trial, the government anticipates that it would need the same

        items as evidence that it used in the first trial. The Eighth Circuit has held that such

        a reason also constitutes a basis for denial of the equitable relief defendant seeks.

        See, e.g., United States v. Saunders, 957 F.2d 1488, 1495 (8th Cir. 1992) (holding

        that “[t]he motion for the return of paperwork, even papers that were not

        introduced at trial, was premature because defendant’s direct appeal was still

        pending”).


            9
             Defendant cites his own pleading to argue that the government overstated the
        burden on the FBI. See Def. Br. 31 n.9. But the district court made a finding of
        fact—subject to clear-error review only on appeal—that compliance would impose
        a substantial burden and cited the basis for that finding. JA232.


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        III.   The forfeiture of defendant’s devices and their content is not plainly
               erroneous under the Eighth Amendment.

               Defendant argues for the first time on appeal that the forfeiture of the

        contents of his devices renders his sentence grossly disproportionate under the

        Eighth Amendment. See Def. Br. 31-49. Defendant concedes this claim is

        reviewable solely for plain error. See Def. Br. 31.

               To meet this standard, “(1) there must be an error; (2) the error must be

        plain, meaning obvious or clear under current law; and (3) the error must affect

        substantial rights.” United States v. Wallace, 515 F.3d 327, 332 (4th Cir. 2008)

        (citing United States v. Olano, 507 U.S. 725, 732-34 (1993). Assuming the first

        three criteria are met, the Court exercises its discretion to correct the error “only if

        the error seriously affects the fairness, integrity or public reputation of judicial

        proceedings.” United States v. Massenburg, 564 F.3d 337, 343 (4th Cir. 2009)

        (citations, alterations, and internal quotation marks omitted). “Importantly, the

        defendant bears the burden of satisfying each of the elements of the plain error

        standard.” Ibid. (citing United States v. Vonn, 535 U.S. 55, 59 (2002)).

               Notably, “an error is plain if the settled law of the Supreme Court or this

        circuit establishes that an error has occurred” by the time of “appellate

        consideration.” United States v. Carthorne, 726 F.3d 503, 516 (4th Cir. 2013). The

        controlling law must address the “particular question” presented. Ibid. (citing cases

        requiring that the court “speak directly on a legal issue” and finding no plain error

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        where “our Court has never addressed the argument”). In the absence of a

        controlling opinion from the Supreme Court or this Court, a district court’s error is

        only plain in the “exceedingly rare” case where “sister circuits have uniformly

        taken a position on an issue that has never been squarely presented to this Court.”

        Id. at 516 n.14.

              Defendant simply cannot make this showing. He does not cite a single case

        from the Supreme Court, from this Court, or from any federal court of appeals that

        has found the forfeiture of non-contraband data on forfeited electronic devices

        excessive under the Eighth Amendment.

              He cites three Supreme Court cases and one Fourth Circuit case—Austin v.

        United States, 509 U.S. 602 (1993), Alexander v. United States, 509 U.S. 544

        (1993), United States v. Bajakajian, 524 U.S. 321 (1998), and Jalaram, 599 F.3d

        347—solely for the proposition that the Eighth Amendment applies to forfeitures.

        Fair enough, but such broad principles do not establish that the forfeiture of the

        devices here was excessive. Instead, defendant pivots his argument, suggesting that

        the district court’s error was not conducting an Eighth Amendment proportionality

        analysis, sua sponte and without any objection or argument from defendant. See,

        e.g., Def. Br. 41, 43 (arguing that “[s]ettled Supreme Court and Fourth Circuit law

        required the district court to engage in an Eighth Amendment proportionality

        review when ordering the forfeiture of property.”). But none of these four cases



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        impose, explicitly or implicitly, a sua sponte duty to raise and decide an Eighth

        Amendment argument without an objection from defendant.

              For good reason: that rule would be extraordinary. The Federal Rules

        unequivocally place the burden on defendants to object not only to a court’s ruling

        but also to inform the court as to “the grounds for that objection.” Fed. R. Crim. P.

        51(b). This Court has squarely held that the defendant has the burden of

        demonstrating that a forfeiture is constitutionally excessive (see United States v.

        Ahmad, 213 F.3d 805, 816 (4th Cir. 2000)), which would be flatly incompatible

        with requiring the district court to raise and decide the issue sua sponte. Moreover,

        as the Supreme Court has explained, the “principle of party presentation … rel[ies]

        on the parties to frame the issues for decision and assign to courts the role of

        neutral arbiter of matters the parties present”:

                     Courts do not, or should not, sally forth each day looking
                     for wrongs to right. We wait for cases to come to us, and
                     when they do we normally decide only questions
                     presented by the parties.

        Greenlaw v. United States, 554 U.S. 237, 244 (2008). Indeed, the Supreme Court

        unanimously reversed a court of appeals for injecting unraised constitutional issues

        into a case. See United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020).

        This Court has likewise held that a district court lacks the authority to raise issues

        sua sponte where they do not impact “important institutional interests of the court,”




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        like jurisdiction or res judicata. Eriline Co. S.A. v. Johnson, 440 F.3d 648, 653-57

        (4th Cir. 2007).

               Defendant next suggests that the Eighth Amendment analysis would come

        out in his favor, but again, he cites no cases rendering this conclusion “plain.” The

        merits fail too. See United States v. Hastings, 134 F.3d 235, 240 (4th Cir. 1998)

        (holding that an error has an effect on substantial rights when “the error actually

        affected the outcome of the proceeding”).

               To decide whether the forfeiture is grossly disproportional under the Eighth

        Amendment, this Court considers the following factors: “(1) the amount of the

        forfeiture and its relationship to the authorized penalty; (2) the nature and extent of

        the criminal activity; (3) the relationship between the crime charged and other

        crimes; and (4) the harm caused by the charged crime.” Jalaram, 599 F.3d at 355–

        56 (cleaned up). “Because questions of proportionality are reserved primarily to

        the legislature, the Bajakajian test is highly deferential.” Blackman, 746 F.3d at

        144.

               Here, all of the relevant factors weigh in favor of finding that the forfeiture

        of the devices in their entirety does not violate the Eighth Amendment.

               First, courts consider the severity of the forfeiture relative to other maximum

        authorized penalties for the conduct. See Jalaram, 599 F.3d at 355. Notably,

        defendant has adduced no evidence about the amount of the “forfeiture” as



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        measured in the value or significance of the non-contraband data he wants

        returned. He claims the court’s order constituted the “forfeiture of a lifetime of

        non-contraband personal files.” Def. Br. 45. But defendant adduced no evidence in

        the district court about the exact nature—or value—of these files. His initial

        motion asserted, without supporting evidence, declaration, or documentation, only

        that the forfeited devices “contain the only record of more than a decade of Mr.

        Sanders’s life, including personal photographs, personal and business records,

        educational records, records of theater performances, contact information and

        emails.” JA70-71.10 In his reply brief, defendant claimed that at most, one terabyte

        of data was at issue and that defendant “would not be asking to export all files, or

        even a substantial percentage” but merely “only certain, discrete types of personal

        files.” JA122-123; cf. JA138, JA141. Yet he still did not adduce any evidence that

        would permit the district court, or this Court on appeal, to actually assess the

        relative severity of the forfeiture.




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               For example, there is no evidence about whether Mr. Sanders used the
        Apple’s iCloud service with his forfeited Apple devices; the service permits
        storage of personal content like photos, documents, or contact information on
        Apple’s servers and therefore could be used to restore certain stored data to new
        devices. E.g., Williams v. Apple, Inc., 449 F. Supp. 3d 892, 898 (N.D. Cal. 2020)
        (describing the service and Apple’s provision of 5 gigabytes of iCloud storage for
        free to owners of devices).


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              Accordingly, absent from the record is any indication of any specific files

        that would, singly or in the aggregate, have a value grossly disproportionate to the

        other penalties authorized—which he admits included maximum fines of $250,000

        per count (for a total maximum of $3 million) as well as restitution and special

        assessments. Cf. Def. Br. 34. Courts have used the amount of the fine as an

        indicator of the defendant’s level of culpability. See Jalaram, 599 F.3d at 356

        (noting that a $350,000 fine, as compared to a $5,000 fine in Bajakajian, as

        punishment “does not suggest a minimal level of culpability”); Blackman n, 746

        F.3d at 144 (noting maximum statutory fine of $250,000 and Guidelines maximum

        fine of $150,000 for offense of conviction indicates a “substantial level of

        culpability”).

              While the exact value of the electronic devices is not in the record, it is fair

        to say that their value is far less than $250,000, let alone the $3 million aggregate

        authorized. And in another case, one could imagine, for example, some piece of

        electronic data that is so valuable as to warrant special consideration: the raw

        master tapes of a dead artist’s last recording session or the original manuscript of

        an author’s addition to the literary canon. But defendant’s burden to show

        excessiveness (Ahmad, 213 F.3d at 816) compels at least some showing on his part




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        about the actual value or significance of the deprivation in question.11 In short, the

        evidence in the record comes nowhere close to establishing that the value of the

        forfeited data nears, much less exceeds, the authorized fines for the conduct. See

        Jalaram, 599 F.3d at 356-57 (concluding that a $358,000 forfeiture was not grossly

        disproportionate in light of the offense’s $350,000 maximum fine); cf. United

        States v. Holland, 722 F. App’x 919, 930 (11th Cir. 2018) (holding that forfeiture

        that “exceeds the statutory maximum [fine] for his offense by 431%” was not

        grossly disproportionate); United States v. Castello, 611 F.3d 116, 123 (2d Cir.

        2010) (holding $12 million forfeiture for offense with a $250,000 maximum fine

        was not grossly disproportionate).

                 The second and fourth factors are the nature and extent of the criminal

        activity and the harm caused by the offense. Courts have consistently recognized

        that child pornography offenses are serious offenses that cause substantial harm.

        See, e.g., New York v. Ferber, 458 U.S. 747, 758 (1982) (recognizing the

        legislators and authors of relevant literature agreed that “the use of children as

        subjects of pornographic materials is harmful to the physiological, emotional, and

        mental health of the child.”); Hull, 606 F.3d at 530 (noting as part of Eighth



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              Defendant has also cited no case, and the government is aware of none, that
        evaluates the subjective importance of the forfeited property to defendant in
        determining proportionality.


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        Amendment analysis that damage done by child pornography is well documented

        and distribution of child pornography is a serious offense); United States v.

        Burgess, 684 F.3d 445, 459 (4th Cir. 2012) (quoting Ferber and observing that

        “[i]t is well established that children featured in child pornography are harmed by

        the continuing dissemination and possession of that pornography”).

              Sanders was convicted of five counts of production of child pornography,

        six counts of receipt of child pornography, and one count of possession of child

        pornography. From 2017 to 2020, Sanders’s communicated with minor children

        between the ages of 13 and 17 years old, having his minor victims record videos of

        themselves engaged in sexualized conduct like slapping their testicles. His conduct

        was heinous, it occurred over a long period of time and, most importantly, it

        caused substantial harm and lifelong trauma to several minors and their families.

        This harm was facilitated by the use of these electronic devices to receive and store

        child pornography and to communicate with his victims. Given the serious nature

        of the offense and the substantial connection between these devices and the

        defendant’s conduct, the forfeiture of these devices in their entirety is appropriate.

        See United States v. 7046 Park Vista Rd., 537 F. Supp. 2d 929, 941 (S.D. Ohio

        2008) (finding forfeiture of real property not excessive as crimes involving child

        pornography are serious and residence was used to transmit, receive, and produce

        child pornography and the property was crucial in defendant’s ability to commit



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        the crimes undetected); Wilk, 2007 WL 2263942, at *1 (finding forfeiture of

        residence not excessive where defendant downloaded in excess of 90 images of

        child pornography in residence and privacy of residence enabled defendant to

        engage in such activities without fear of discovery or public scrutiny).

              The third factor is the relationship between the crime charged and other

        crimes. Here, the forfeited electronic devices are all core instrumentalities of

        Sanders’s illegal child pornography activity. This case does not implicate the type

        of concern present in Bajakajian where the government sought the forfeiture of a

        large amount of currency unrelated to criminal activity for a reporting violation.

        See, e.g., 524 U.S. at 325, 337-38 (considering forfeiture of $357,000, which was

        not itself criminal proceeds, for failing to disclose the amount to customs). Unlike

        the respondent in Bajakajian, there is a substantial connection between the

        property the government seeks to forfeit and serious criminal activity. Therefore,

        the third factor also weighs in favor of finding that the forfeiture of these devices in

        their entirety is not excessive.

              Here, considering all four factors, the forfeiture of the electronic devices in

        their entirety is not grossly disproportional to the gravity of the offense,

        particularly given Sanders’s voluntary choice to use these devices in his criminal

        activity to exploit minors for sexual gratification. Accordingly, Sanders cannot




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        show that there was error at all, much less plain error that affected his substantial

        rights or that this Court should exercise its discretion to intervene.

                                             Conclusion

               For the foregoing reasons, the court should affirm the district court’s order

        of forfeiture.

                                                 Respectfully submitted,

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                                                                    /s/
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                                                 Assistant United States Attorneys




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                              Statement Regarding Oral Argument

              Given that the Court has no published precedent addressing the issues

        presented in this case, the United States defers to the Court on whether it would

        find oral argument helpful in this case.

                                     Certificate of Compliance

              I certify that this brief was written using 14-point Times New Roman

        typeface and Microsoft Word 2016.

              I further certify that this brief does not exceed 13,000 words (and is

        specifically 12,934 words) as counted by Microsoft Word, excluding the table of

        contents, table of authorities, statement regarding oral argument, this certificate,

        the certificate of service, and any addendum.

              I understand that a material misrepresentation can result in the Court’s

        striking the brief and imposing sanctions.



                                                               /s/
                                              Annie Zanobini
                                              Assistant United States Attorney




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